Case 1:05-cr-10022-.]DT Document 20 Filed 05/20/05 Page 1,0f2 Page|D 22

IN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE-'l%..ED BY [)_Cl
EASTERN D|V|S|ON `

ROESERT R. Dl TROLIO

 

 

UN|TED STATES OF Al`\/|ER|CA,

Piaimirr, \',t§l§_i"ll($jFUT'S`j JA CI
v. cr. No. 05-10022-T
LAKEsA BORNER,

Defendant.

 

ORDER ON ARRA!GNMENT

 

This cause came to be heard on May 20, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counse|, Who is retained:

NAME: iVlitch To||ison
ADDRESS:

TELEPHONE:

The defendant, through counsell waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

i/ The defendant, who is not in custody, may stand on his/her present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

U.S. Marsha|.
c;- /éo»m
S. THOMAS ANDERSON
United States Magistrate Judge
Charges: controlled substance: se||, distribute or dispense

Assistant U.S. Attorney assigned to case: Kitchen

Ruie 32 was: waived not waived.

This document entered on the docket s§e t in compliance
with Ru|e 55 and/or 32(b) FRCrP on §§ \_'| l § § S

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:05-CR-10022 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

Jerry R. Kitchen

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Ste. A

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Honorable J ames Todd
US DISTRICT COURT

